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 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                 )
 8                                             )    Case No. 2:09-cr-00170-GEB
                       Plaintiff,              )
 9                                             )
                 v.                            )    GUILTY PLEA TO NONEXISTENT
10                                             )    COUNT 69
     ROBERT L. CARR, and THERESA ANN           )
11   CARR,                                     )
                                               )
12                 Defendants.                 )
     ________________________________          )
13
14                I have just been informed that each Defendant plead guilty to

15   nonexistent Count Sixty-Nine (69) last Friday, February 17, 2012. The

16   parties’ plea agreement included a plea of guilty to that non-existent

17   count. Therefore, the Minutes of the proceeding correctly state that is

18   what occurred; however, each Defendant’s plea of guilty to that non-

19   existent count was meaningless.

20   Dated:    February 23, 2012
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22                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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